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lN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
WACO DIVISION

BRD MANAGEMENT, lNC. and

TRILIJI GROUP, LLC d/b/a MAJESTIC

I & ll fbo BRD MANAGEMENT, INC.,
Plaintiffs

v.

Civil Action No. 6:13-cv-00381-WSS

CERTAIN UNDERWRITERS AT LLOYD’S

LONDON SUBSCRIBING TO POLICY

#09SSP4280192001 and DANNY BROWN,
Defendants

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DEFENDANT LLOYD’S OF LONDON SYNDICATE NUMBER 1919’S
RESPONSE TO PLAINTIFFS’ MOTION TO REMAND
AND BRIEF IN SUPPORT
TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW, Lloyd’s of London Syndicate Number l9l9, incorrectly sued as “Certain
Underwriters at Lloyds London Subscribing to Policy #09SSP4280192001” (“Lloyd’s”) and files

this Response to Plaintiffs’ l\/lotion to Remand and in Support thereof would show the Couit as

follows:
I. Factual Background
l. This is an insurance coverage dispute between Plaintiffs and its property insurance carrier

regarding damages that Plaintiffs claim were incurred at the insured property, a Waco area
apartment complex (the “Property”). Plaintiffs acknowledged in their Original Petition
(“Petition”) that they made a claim under the Lloyd’s policy for roof damage and resulting water
damage allegedly Sustained as a result of a wind and hailstorrn occurring in 2010. (Petition 1lE,

page 3 of 20). Plaintiffs further acknowledged that Lloyd’s paid that portion of the claim which

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was determined to be covered under the policy. (Petition 11 I, page 4 of 20). Plaintiffs seek to hold
Danny Brown (“Brown”) liable for the denial of their claim even though Mr. Brown was an
independent adjuster and played no role in any coverage analysis or claim decision. See Exhibit
l, January 13, 2014 Declaration of Danny Brown (“Brown Decl.”), 111 3, 5, and lO. Lloyd’S thus
contends that Brown was added as a Defendant solely for the purpose of attempting to defeat
diversity jurisdiction
II. Legal Standard for Removal Based on Improper Joinder

2. lmproper joinder may be established by showing (l) actual fraud in the pleading of
jurisdictional facts or (2) an inability to establish a cause of action against the non-diverse
defendant in state court. Gasch v. HartfordAccident & Indemnz`ty Co.,49l F.3d 278, 281 (5th Cir.
2007), citing Smallwood v. Ill. Cem‘. R.R. Co., 385 F.3d 568, 573 (Sth Cir. 2004). Plaintiffs’
assertion set forth in their motion to remand that this Court need only conduct a Rule lZ(b)(6)
type analysis for this case is not correct. Smallwood set out the procedure for determining
whether a non-diverse defendant was improperly joined (the Rule lZ(b)(6) analysis) but also
stated that where a complaint states a claim that satisfies lZ(b)(6), but has misstated or omitted
discrete facts that would determine the propriety of joinder the district court may, in its
discretion, pierce the pleadings and conduct a summary inquiry. Smallwood, 385 F.3d at 573,
citing Badon v. RJR Nabz'sco, Inc., 224 F.3d 382, 389 n. 10 (5th Cir. 2000). Lloyd’s would show
that Plaintiffs’ complaint does not satisfy a Rule lZ(b)(6) challenge and that Plaintiffs have
misstated facts relating to Brown’s involvement in connection with the claim such that he could
never be considered liable to Plaintiffs as alleged.

3. lf a district court pierces the pleadings, and the defendant has produced evidence

supporting improper joinder, the plaintiff must produce at least some controverting evidence
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Baa’on, 224 F.3d at 393. If a defendant has been improperly joined - as Brown has been
improperly joined here - his presence must be disregarded by the Court in determining the
existence of diversity jurisdiction and assessing the propriety of removal. See Carriere v, Sears,
Roebuck & Co., 893 F.2d 98, 101-02 (5th Cir. 1990). To establish improper joinder, the removing
defendant must prove: “(1) actual fraud in the pleading of jurisdictional facts, or (2) inability of
the plaintiff to establish a cause of action against the non-diverse party in state court.” Travis v.
Irby, 326 F.3d 644, 647 (Sth Cir. 2003), citing Grz'ggs v. Staz‘e Farm Lloyds, 181 F.3d 694, 698
(s‘h Cir. 1999).
4. Lloyd’s asserts that Plaintiffs cannot establish a cause of action against Brown and
therefore he was improperly joined and remand should be denied. Removal on the basis of
improper joinder is allowed if there is no reasonable basis on which the district court can predict
that the plaintiff might be able to recover against the non-diverse defendant Smallwood v.
Illz'nois Central R.R. CO., 385 F.3d 568, 573-74 (Sth Cir. 2004) (en banc). ln addressing this issue,
the district court must determine whether a plaintiff has “any possibility of recovery against the
party whose joinder is questioned.” Travz's, 326 F.3d at 648 (citing Great Plaz'ns Trust Co. v.
Morgan Stanley Dean Witter & Co., 313 F.3d 305, 312 (Sth Cir. 2002)). “This possibility,
however, must be reasonable, not merely theoretical.” Great Plaz'ns Trust, 313 F.3d at 312.

III. Plaintiffs Have Failed to State a Cause of Action against Mr. Brown
A. Plaintiffs’ DTPA Claim Fails.
5. Texas law has consistently declared that an independent adjuster such as Brown has no
liability to an insured because he has no relationship with, and owes no duty to, the insured.
Natividad v. Alexsz's, Inc., 875 S.W.2d 695, 698 (Tex. 1994). An independent adjuster like Brown

cannot be liable to an insured for alleged improper investigation, regardless of whether the
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insured labels the allegations as negligence, bad faith, breach of contract or extra-contractual
claims. See Crocker v. Americcm Nat’l Gen. Ins. Co., 211 S.W.3d 928, 937-38 (Tex. App. -
Dallas 2007, no pet.). In Crocker, the homeowner insured sued its insurance company and the
independent adjuster hired by the insurer to investigate a water damage and mold claim. The
Crocker court dismissed the insured’s negligence, bad faith, and DTPA claims against the
independent adjuster holding that the adjuster did not have any legal liability to the insured for
actions the independent adjuster took on behalf of the insurer. Id. at 93 7-938. As a matter of law,
Plaintiffs’ DTPA claim against Brown fails for the same reasons set forth in Crocker.

B. Brown is Not Liable under the Texas Insurance Code.

6. In their Original Petition Plaintiffs seek to assert claims against Brown under the Texas
Insurance Code and for alleged misrepresentations As unequivocally set forth in the Brown
Decl.,, contrary to Plaintiffs’ unsubstantiated assertions, Brown did not “process, evaluate,
approve or deny” the Plaintiffs’ insurance claim (Exh. 1, 1111 4-10). Brown did not even have a
copy of the insurance policy when investigating this claim, and therefore could not have known
exactly what coverage was afforded Plaintiffs under the Lloyd’s insurance policy (EXh. 1, jj 6).
Furthermore, Brown did not evaluate the claim for coverage, and he made no coverage decisions
(EXh. 1, W 5 and 10). Accordingly, there is no “reasonable possibility of recovery” by Plaintiffs
against Brown that would make him a proper party. See Ross v. Ciz‘ijinancz'al, Inc., 344 F.3d 45 8,
462 (5"‘ cir. 2003).

7. All three cases cited by Plaintiffs, which allegedly support their claims against Brown,
are distinguishable from the present case. All three cases involve specific allegations that the
individual allegedly made direct representations to the insured, prior to the loss, or that the

individual contributed to the decision to the deny the claim - neither of which are applicable
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here. ln Lz'berly Mut. Ins. Co. v. Garrz'son Contractors, Inc., 966 S.W.2d 482 (Tex. 1998) the
insurance company’s employee who solicited the insured and made representations of coverage
at the time the policy was sold was held to be potentially liable to the insured. Any alleged
misrepresentations by Brown supposedly occurred after the loss at issue and Brown is not an
employee of Lloyd’s as was the case in Garrison. Jones v. Ace American Ins. Co., 2006 WL
3826998 (E.D. TeX. Dec. 22, 2006) is an unreported case where the adjuster, also an employee of
the insurer, allegedly directed or contributed to the decision to deny the claim. Here, Brown did
not make any claim decisions, and in fact the claim at issue in this case was never “denied”. The
last case cited by Plaintiffs, McNeel v. Kemper Cas. Ins. Co., 2004 WL 163 5757 (N.D. TeX. July
21, 2004) is another unreported case wherein it was alleged the adjuster made the decision to
deny the insured’s claim. Here, however, it is undisputed that Brown had no role whatsoever in
the coverage decision concerning this claim (EXh. l, 1111 5, 6, and 10). Accordingly, none of the
cases cited by Plaintiffs squarely address the allegations against Brown that are at issue in this
case and should not therefore guide this Court in its ruling.

C. Plaintiffs’ Allegations of Post-Loss Misrepresentations are Not Actionable.

8. Plaintiffs also plead vague allegations against Brown relating to alleged
misrepresentations or negligent misrepresentations all of which allegedly occurred after the
claimed loss. Both the Texas Insurance Code and the DTPA require proof that the defendant’s
conduct was the cause in fact of the plaintiffs actual damages Grz'ggs v. Sz‘az‘e Farm Lloyds, 181
F.3d 694, 701 (Sth Cir. 1999), citing Provz'denl‘ Am. Ins. CO. v. Casz‘aneda, 988 S.W.2d 189, 192
(Tex. 1998); see also: 2 Fat Guys Inv., Inc. v. Klaver, 928 S.W.2d 268, 272 (Tex. App. - San
Antonio 1996, no writ). Under Texas law, post-loss representations are not actionable when they

are not the producing cause of any damage to the insured. See Royal Globe Ins. Co. v. Bar
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Consulz‘ants, Inc., 577 S.W.2d 688, 695 (Tex. 1979). Accordingly, all of Plaintiffs’ claims
relating to alleged post-loss misrepresentations made by Brown relating to coverage or the
amount of the loss, which undeniably occurred after the alleged loss, are simply not actionable
D. Allegations of Negligence and Gross Negligence Fail to State a Claim.

9. Plaintiffs allege that Lloyd’s and Brown were negligent and grossly negligent in
connection with the adjustment of the claim and in allegedly giving advice to Plaintiffs as to how
they could repair the property. TeXas does not recognize a cause of action for negligent claims
handling. See Higginbotham v. State Farm Mul‘. Auto. Ins. Co., 103 F.3d 456, 460 (Sth Cir.
1997). Therefore, Plaintiffs’ negligence claims cannot form the basis for any alleged liability
against Brown.

E. The Vague Conspiracy and Aiding and Abetting Claims Also Fail as a Matter of
Law.

10. Plaintiffs allege that Lloyd’s and Brown somehow conspired to commit: violations of the
DTPA, the TeXas lnsurance Code, fraud, breach of contract, and breach of the duty of good faith
and fair dealing - without reference to any specific facts, acts, statements or evidence to support
such baseless allegations In Grz'ggs v. Staz‘e Farm Lloya’s, 181 F.3d 694, 701 (Sth Cir. 1999), the
Fifth Circuit denied a plaintiff"s motion to remand because the plaintiff failed to state any
specific actionable conduct against the defendant insurance agent which did not meet even the
most liberalized requirements of notice pleading 181 F.3d at 699. “Mentioning defendants then
failing to state specific actionable conduct against them does not suffice to state a claim against
them.” Bailey v. Sl‘al‘e Farm Lloyds, 2001 WL 34106907 (S.D. TeX. Apr. 12, 2001) cited in
DeCluez‘te v. Staz‘e Farm Lloyds, 2013 WL 607320 (N.D. Tex. Feb. 19, 2013) in support of denial

of a motion to remand based on improper joinder of an insurance adjuster as a defendant
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Lloyd’s contends that the vague and unsupported allegations of conspiracy as well as aiding and
abetting asserted herein by Plaintiffs likewise do not support remand of this case.
IV- M__usion

ll. Plaintiffs have failed to sufficiently plead facts that would support a cause of action
against Brown who acted in a limited capacity as an independent claims adjuster with respect to
the Plaintiffs’ claim, and only inspected the property and prepared an estimate for repairs All
conduct allegedly committed herein by Brown occurred after the loss in question and cannot be
considered to have been the producing cause of any of Plaintiffs’ damages Plaintiffs’ vague
allegations against Brown are insufficient to Support an order remanding this case to state district
court. Accordingly, this Court should deny Plaintiffs’ Motion to Remand.

Respectfully submitted,

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CERTIFICATE OF SERVICE

l hereby certify that pursuant to Fed. R. Civ. P. 5, a true and correct copy of the foregoing
has been delivered via faX to all counsel of record as listed below on January 14, 2014:

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